Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 1 of 36

maintained clear conduct during his entire period of his
incarceration and has done some programming but never
completed his GED. The subject is assigned a work detail but
it is hard to believe that he does much in the way of work
because he is a pretty frail old man and appears to weigh about
100 pounds.

During today’s hearing his attorney highlighted his multiple
medical problems and I believe it is in the Commission’s best
interest to recommend the subject be paroled at this time as I
don’t believe he is going to live much longer based on his
physical appearance and list of medical ailments. Additionally,
I believe the subject should be paroled based on the amount of

time he served and specifically he has engaged in some
programming and maintained clear conduct.

Exhibit B at 2

On December 2, 2011, the Reviewing Examiner, who did not conduct the interview
and had no opportunity to assess Furnari’s condition, recommended continuation to a
fifteen year reconsideration. Notably, the Reviewing Examiner did not base his
recommendation on the offense conduct for which Furnari had been sentenced nor on
whether at the present time he is a significant parole risk. Instead the Reviewing Examiner
based his recommendation solely on relevant conduct for which Furnari had not ever been

convicted or even charged (Exhibit B at 3).'

 

‘Notably despite the Third Circuit's finding that “[t]he government's own determination
that Casso had lied to it about many matters calls into question whether the Parole Commission
had a rational basis for its decision to the extent that decision was based on information from
Casso” Furnari v. Warden, Allenwood Federal Correctional Inst, 218 F.3d 250 (3°? Cir.,2000), the
reviewing examiner concluded that the information supports holding Furnari responsible for the
murders. (Exhibit B at 3)
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 2 of 36

On December 19, 2011, the Commission ordered Original Jurisdiction Designation
and transferred the case to the other Commissioners for their votes on the disposition of the

case (Exhibit C). On January 20, 2012, the Commission issued a Notice of Action continuing

to a 15 year reconsideration hearing.

This Appeal followed.

ISSUES ON APPEAL
Pursuant to 28 C. F. R. §2.26(e) the within Appeal presents the following issues :
1. Especially mitigating circumstances relating to Furnai’s age and _ probability
of success on parole justify a different decision; (28 C-F,.R. §2.26(e)(3))
2, There are compelling reasons why a more lenient decision should be rendered

on grounds of compassion. (28 C.F,.R. §2.26(e)(7).

3. The decision outside the guidelines was not supported by the reasons or facts
as stated (28 C.F,.R. §2.26(e)(2).
4. The Commission did not follow correct procedure in deciding the case, and
a different decision would have resulted if the error had not occurred (28 C.F,.R. §2.26(e)(5).
POINT I
FURNARI’S ADVANCED AGE AND FAILING HEALTH
CONSTITUTE COMPELLING REASONS WHY A MORE
LENIENT DECISION SHOULD BE RENDERED ON
GROUNDS OF COMPASSION (28 C.F.R §§2.26(e)(3)(7)

Christopher Furnari is 87 years old and in deteriorating health. He suffered a

4
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 3 of 36

myocardial infarction in 2006 and, in addition, suffers from hypertension, coronary artery
disease, congestive heart failure, angina, prostate hypertrophy. In the six months preceding
the hearing, he had been to the emergency room several times.. He is generally confined
to a wheelchair and is unable to take of his daily needs on his own without assistance from
other prisoners who for the past two years have provided necessary assistance for the tasks
of daily living such as eating, bathing and dressing.

He has already served 305 months imprisonment. He has been eligible for parole

since 1996. He is the only individual in the history of our criminal justice system who,
as a result of the successive decisions of the Parole Commission, has served more than 25
years imprisonment for aiding and abetting a bid-rigging scheme.

As the Hearing Examiner recognized based on personal observation of Mr. Furnari’s
condition, his advanced age and ill health, the likelihood that Christopher Furnari will
survive much longer is remote. (Exhibit B at 2).

The decision to deny Mr. Furnari parole ignores the Commission’s obligation to
give meaningful, rational and independent consideration to whether or not he is at this time
a significant parole risk. Clearly, given his frail condition he is not. Nor does the notice
of action state that the denial of parole is based on any potential risk to society.

On the contrary, after more than twenty-five years imprisonment for a non-violent

offense, Christopher Furnari is at long last deserving of the opportunity to spend his final
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 4 of 36

years in normal society in the company of his family. Despite his prolonged period of
incarceration, Furnari is blessed with the love and support of his family who have
maintained constant contact with him throughout the years. If parole were to be granted,
he would reside with Thomasina Furnari, his wife of 35 years, at her home at 23 Junction
Court in Staten Island. As a result of his advanced age and frail condition he does not
intend to seek employment. He anticipates that his medical needs will be attended to by
Dr. Thomas Constantino, a board certified cardiologist with offices at 2248 Richmond
Road, Staten, New York 10306.

He will be eligible for Medicare Part A and Part B. In addition, he will be covered by
his wife’s health insurance plan and his family, including his son Salvatore and his
daughter, Debra, have committed whatever resources are necessary in the event that the
cost of his medical care exceeds the benefits provided by Medicare and insurance.

In United States v. Blarek , 7 F.Supp.2d 192, 210-11 (E.D.N.Y.,1998), Judge Weinstein
sitting in the Eastern District of New York stated:

Mercy is seldom included on the list of "traditional" rationales
for sentencing. It is, however, evinced by the federal sentencing
statute, 18 U.S.C. §§ 3553(a), which provides, as noted above,
that the lowest possible penalty consistent with the goals of
sentencing be imposed. [citation omitted]

The notion that undue harshness should be avoided by those
sitting in judgment has long beena part of the human fabric and

spirit. Lenity is often the desirable route. To impose the harsh
sentence suggested by Probation and the government under the
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 5 of 36

Guidelines without appropriate downward departures would
amount to an act of needless cruelty given the nature of the
crimes committed and the personal circumstances of these
defendants. Reasoned application of both sets of philosophical
considerations--just desert and utilitarian--lead to amelioration.

Having served more than twenty-five years in prison, Christopher Furnari has paid

his debt to society. The time has come for mercy. There is no reason for him to be

condemned to die in prison.

POINT II

THERE IS NO RATIONAL BASIS FOR THE CONCLUSION
THAT GRANTING FURNARI PAROLE AFTER 25 YEARS
IMPRISONMENT MINIMIZES THE SERIOUSNESS OF THE
OFFENSE AND PROMOTES A DISRESPECT FOR THE

LAW (C.F.R. §2.26(e)(3))

The principal purpose and intent of the Parole Commission and Reorganization Act
(18 U.S.C. §§4201-4218) was described in the House Conference Report, a joint explanatory
statement of conferees made to both the House and the Senate. H.R.Rep. No. 94-838, 94th
Cong,., Ist Sess., reprinted in 1976 U .S. Code Cong. & Admin. News, pp. 335, 351. The

report stated in relevant part:

Determinations of just punishment are part of the parole process, and these
determinations cannot be easily made because they require an even-handed
sense of justice. There is no body of competent empirical knowledge upon

which parole decision-makers can rely, yet it is important for the parole
process to_achieve_an_aura of fairness by basing determinations of just

punishment on comparable periods of incarceration for_similar_offenses
committed under similar circumstances. The parole decision-makers must
weigh the concepts of general and special deterrence, retribution and
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 6 of 36

punishment, all of which are ma
determinations of what is meant b
his offense or promote disres ect for

law

tters of judgment, and come up with
would not depreciate the seriousne s of
+ to the extent possible, are

not inconsistent with the findings in other parole decisions, [emphasis added]

See also Priore v. Nelson, 626 F.2d 211 (2" Cir. 1980).

The finding that “a grant of parole at this time w

ould minimize the seriousness of

the offense and promote disrespect for the law” (Exhibit A) completely ignores the

offenses committed under similar circumstances.

Commission’s obligation to consider comparable periods of incarceration for similar

A comparison with the comparable periods of incarceration imposed on close to two

dozen similarly situated defendants sentenced for the same offenses reflects society's

definition of just punishment:

 

 

 

 

 

Venero Mangano

 

 

 

(acting boss)
conspiracy to
murder witnesses

 

 

Defendant Offense of Basis for upward Sentence Reference
conviction departure Imposed
D'Amico RICO, Illegal) leadership &| 147 months United States v.
seb Extortion,| organized crime Damico, 99 F.3d 1431
robbery, tax evasion, :
mate) (7* Cir.1999)
Robert Panero Hobbs Act organized crime,| 180 months United States v.
extortion & Panaro, 266 F.3d 939
murder(charged) (9"* Cir. 2001)
Stephen Cino Hobbs Act & money organized crime,} 15 years United States v.
laundering extortion & Panaro, 266 F.3d 939
murder(charged) (9 Cir. 2001)
Hobbs Act organized crime] 188 months

US. v. Gigante, 94
F.3d53 (2dCir.1996)

 

 
Case 3:12-cv-02378-WJN-DB Document7 Filed 11/29/12

Page 7 of 36

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Benedetto Aloi Hobbs Act organized crime] 200 months U.S. v. Gigante, 94
(underboss) F.3d53 (2dCir-1996)
conspiracy to
murder witnesses

Liborio Bellomo Hobbs Actlorganized crime} 120 months United States v.

conspiracy (acting boss) murder Bellomo, 96 CR 430
(LAK)

Gus Alex Extortion organize d| 188 months United States v.
crime/threats of Rainone, 32 F.3d 1203
Physical Harm (7* Cir. 1994)

Nicholas Gio Extortion organized crime/ 137 months United States v.
arson Rainone, 32 F.3d 1203

(7° Cir. 1994)

Nicholas Corozzo_ | Hobbs Act/ organized crime} 108 months United States v.

Loansharking (capo), obstruction Corozzo, 97 CR 080
(EDNY)
Leonard diMaria Extortion organized crime] 104 months United States v.
(capo), obstruction Corozzo, 97 CR 080
(EDNY)
Joseph Tangorra Loansharking(47| organized crime,| 192 months United States v.
counts) narcotics Tangorra, 00 CR 1167
(EDNY)

Joseph DeFede Extortion organized crime 60 months United States v.

(acting boss) DeFede, 98 CR 373
(SDNY)

Vito Rizzuto RICO organized crime 20 years
(murder)

Peter Calabrese RICO organized crime (3 | 10 years 03-1382 (EDNY)
murders)

Joseph DeSimone | RICO organized crime (3 | 10 years 03-1382 (EDNY)
murders)

Michael Cardello RICO organized crime (3 | 10 years 03-1382 (EDNY)
murders)

John Palazzolo RICO organized crime (3 | 10 years 03-1382 (EDNY)

 

 

murders)

 

 

 

 
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 8 of 36

 

 

Bolivar Benebe RICO organized crime 240 months United States v.
(gang violence) Benabe, 436 Fed.
(murder) Appx. 639 (7"
Cir.,2011)
Steven Scott RICO Ayran Prison Gang} 220 months U.S, v. Scott
(murder & drug 642 F.3d 791
trafficking in prison) (g Cir. 2011)

 

 

 

 

 

 

 

The above defendants are all alleged to be members of organized crime or violent
gangs. The offense conduct or the uncharged conduct for each of the above defendants all
involved murders in furtherance of a racketeering activity. Of the almost two dozen
similarly situated offenders, the longest period of imprisonment (at 80% of the sentence) is
190 months or 15 years. There is not another defendant convicted of extortion who has

been imprisoned for life based solely on uncharged conduct.

In addition, ignored by the decision is the fact that one of Mr. Furnari‘s co-defendants
Salvatore Santoro, who was alleged to have been the Underboss in the Lucchese crime family
during the 1980s and who was also sentenced to 100 years imprisonment was given a
presumptive date of parole of November 13, 2001 (15 years) due to his ill health and
advanced age (Exhibit C: Pre-Hearing Assessment at 2). Furnari is no less deserving than
Santoro. He has already served more that three times the Guideline range of 100 months
for his offense. He has committed no other offenses following his conviction and has a
record of conduct which is reflects adherence to the rules of the prison and has not

committed a single disciplinary infraction in a quarter century of confinement.

10
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 9 of 36

The grossly disproportionate result of the decision is wholly inconsistent with the

mandate that the Commission’s decision reflect an “even-handed sense of justice”.

Furthermore the conclusion that after 25 years imprisonment, permitting an 87 year old
offender to return home to die would “minimize the seriousness of the offense and promote
disrespect for the law” is patently inconsistent with the punishment society has clearly

deemed sufficient in every other case.

The Order of a continued incarceration until a Reconsideration Hearing in 2026 is a
death sentence which has no rational basis and simply evinces a result-oriented
determination which can only undermine confidence and respect for the integrity of our
criminal justice system.

POINT Il

THE ORDER OF A RECONSIDERATION HEARING 2026
THIRTEEN YEARS AFTER THE LIFE OF THE
COMMISSION HAD EXPIRED VIOLATES TITLE 18
U.S.C.A. §§ 4206 ((C.F.R.§§2.26(e)(5))

Title 18 U.S.C.A. §§ 4206 which provides for the phase-out of the United States
Parole Commission provides that:

Section 235(a)(1) of Pub.L. 98-473, set out asa note under section
3551 of this title, provided that the repeal of this chapter is
effective Nov. 1, 1987, and applicable only to offenses
committed after the taking effect of such repeal. Section
235(b)(1)(A) of Pub.L. 98-473 provided that the provisions of
this chapter in effect before Nov. 1, 1987, shall remain in effect
for five years after Nov. 1, 1987, as to an individual who

11
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 10 of 36

committed an offense or an act of juvenile delinquency before
Nov. 1, 1987, and as to a term of imprisonment during the
period described in section 235(a)(1)(B) of Pub.L. 98-473. Pub.L.
101-650, Title III, §§316, Dec. 1, 1990, 104 Stat. 5115, extended
the period that this chapter remains in effect after Nov. 1, 1987,
from five years to ten years. Pub.L. 104-232, section 2(a), Oct. 2,
1996, 110 Stat. 3055, extended the period that this chapter
remains in effect after November 1, 1987, from ten years to
fifteen years. Pub.L. 107-273, §§ 11017, set out as a note under 18
U.S.C.A. §§ 4202, deemed references to "fifteen" to be "eighteen"
in Pub.L. 98-473, §§ 235(b), as it relates to 18 U.S.C.A. §§ 4201 et

seq.
Title 18 U.S.C. 3551 Note b(3) provides:

The United States Parole Commission shall set a release date,
for an individual who will be in its jurisdiction the day before
the expiration of five years after the effective date of this Act,
pursuant to Section 4206 of title 18, United States Code. A
release date set pursuant to this paragraph shall be set early
enough to permit consideration of an appeal of the release date,
in accordance with Parole Commission procedures, before the
expiration of five years following the effective date of this Act.

In Romano v. Luther, 816 F.2d 832 (2d Cir.1987), the Court of Appeals for the Second
Circuit held that §§ 235(b)(3) "requires the Parole Commission to set parole release dates
within applicable guideline ranges only for prisoners who will be in prison October 30, 1992,

the day before the end of the five-year transition period..." 816 F.2d at 842. (Emphasis added).

While so holding, the court noted that "the subsection is a 'winding-up' provision that
will provide the certainty of release within the appropriate guideline range to those for

whom the Parole Commission, prior to its abolition, might otherwise have either taken no

12
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 11 of 36

action or set a parole date beyond their guideline ranges." 816 F.2d at 840. In 2011 the term
of the Commission was extended until November 1, 2013. See United States Parole

Commission Act of 2011, Pub.L. No. 112-44, § 2, 125 Stat. 532 (2011).
The Notice of Action does not set a parole release date. Instead it orders

continuation “to a 15 year reconsideration hearing (October ,2026)” (Exhibit A). Clearly,
Christopher Furnari, who will be 103 years old in 2026 will not live to see the hearing.
However, even assuming en arguendo the statistical impossibility that he is alive at the time
the hearing is scheduled, he will be in the unusual position of having an opportunity to
appear before a Commission whose authority will have expired 13 years before the date

of the hearing.

The Notice of Action of January 20, 2012 exceeds the statutory authority of the
Parole Commission and effectively deprives Furnari of an opportunity to exercise his right
to appeal the release date (assuming a release date is forthcoming) prior to the expiration

of the Commission.

13
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 12 of 36

CONCLUSION

The order of January 20, 2012 must be reversed and Christopher Furnari must be

givena release date. He should be released on parole to apenas remaining days with his

family.

14

   
 

bru ‘submitted

uf ia 2

Flika EaWwattis (fe0808)

Attorney for Christopher Furnari
115 Broadway - Suite 1505

New York, New York 10006
212-785-3344
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 13 of 36

TABLE OF EXHIBITS
Exhibit
ee A
Notice of Action dated December 22, 2009 ..--.---++seerrrrrrserrttre
ee B
Hear HS SUITTATY. cose enemas vit a HE EOS Sais eR Nene rman ton 9 Eg REO
Order Continuing Original Jurisdiction ......--++++++errrerstter ester seers sees Cc

scvesneneasee Ree D
Pre-Hearing Asssessment .....--- ++ +s srersrretseesrrtse rss se sss
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 14 of 36

EXHIBIT A

 
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 15 of 36

U.S. Department of Justice Notice of Action
United States Parole Commission

90 K Street, N.E., 3rd Floor

Washington, D.C. 20530

Name: FURNARI, Christopher Institution: Allenwood FCI-Low
Register Number: 19815-054 Date: January 20, 2012

Asa result of the hearing conducted on October 26, 2011, the following action was ordered:

Continue to a 15-Year Reconsideration Hearing in October 2026.

 
 
 

REASONS:

val Salient Factor ou sli The table at the
You have, bedi an federal confinement as a

    
  

. : e patexory ‘by more
\ You s were a high-

  
    
 
 
   

jowever, notwithstanding

Id ihinimize the seriousness of the

 Ottober 2013.

The above is an original jurisdiction deans Sind ‘is‘appeatable to the Commission under 28 C.F.R. 2.27.
You may obtain appeal forms from your caseworker or supervising officer and they must be filed with
the Commission within thirty days of the date this Notice was sent.

Copies of this Notice are sent to your institution and to your supervising officer. In certain cases, copies
may also be sent to the sentencing court. You are responsible for advising any others you wish to notify.

cc: U.S. Probation Office

Southem District of New York

500 Pearl Street, 7th Floor

New York, NY 10007-1312

a

FURNARI 19815-0534 ae Clerk ~MDRLAL7
Queued: 01-20-2012 10:04:18 BOP-Allenwood FCI-Low | BOP-Designation & Sentence Computation Cir | USPO-Southem
District of New York, 1 - Main (NYC) |
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 16 of 36

Designation & Sentence Computation Ctr
U.S. Armed Forces Reserve Complex
Grand Prairie Office Complex

346 Marine Forces Drive

Grand Prairie, TX 75051

Flora Edwards

Attorney at Law

115 Broadway Steet, Suite 1505
New York, NY 10006

    
 

ae,

wy

Bee SA Sin
Bee Sse"
pe

 

FURNARI 19815-054 -2- Clerk: MDR

Queued: 01-20-2012 10:04:18 BOP-Allenwood FCI-Low | BOP-Designation & Sentence Computation Ctr | USPO-Southem
District of New York, 1 - Main (NYC) |
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 17 of 36

EXHIBIT B

 
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 18 of 36

oy

HEARING SUMMARY

Name: Furnari, Christopher Reg No: 19815-054
Hearing Parameters

Hearings Pom scccsscousvacexsezsnsssssis : In Person

Hearing Type ........0.cc.-eeet 15-Year Reconsideration

Hearing Date...............sss.ss0000+062 October 26, 2011

Examine .............eceseeeeeeeeesesesseeeseet Mark A. Tanner

Institution ....... ees eesersentenececsesenes : Allenwood FCI-Low
Sentence Parameters

Sentence Type...) Federal

MR/Statutory Release................... 7/16/2053

Full Tet Date: cccmeancvncnd 2 SURG

Months in Custody................0.-... : 300 as of 11/13/2011

Fines/Restitution/Assessment......: N/A

CRAG scocanncocscumrsnminggcuccene None

Additional text regarding the above parameters: The subject is serving a 100 year sentence
for Racketeering, Racketeering Conspiracy and Extortion.

Prior Action & Institutional Factors

Prior Action: See the Prehearing Assessment dated October 11, 2011 by Mark Tanner.

 

Codefendants: There are seven codefendants see the Prehearing Assessment dated 10/11/2011, for full
details.

Victina Information: There are no victims registered for notification in the Victim/Witness Program.

Representative & Representative’s Statement: Attomey Flora Edwards at 115 Broadway Street,
Suite 1506, New York, NY 10006; telephone (732) 208-1408. He attended today’s hearing and stated
the subject is of advanced age at 87 has multiple health problems and certainly should be paroled if for
no other reasons that humanitarian grounds. Further, she stated the offense he was convicted of
Extortion, and the unusual lengthy sentence that he received is unusual and the subject has served a
quarter century for his Extortion conviction. She believes that is excessive to have to serve that much
time and she presented information with ten additional cases showing those convicted of similar
offenses received at least half of the amount of time that Mr. Furnari received and has served.

Furnari, Christopher, Reg. No. 19815-054 Page 1 of g
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 19 of 36

The subject introduced information which the Commission already had from an Assistant AUSA who
originally prosecuted the case in that they had retracted their statements that Mr. Furnari was a member
of the commission and in fact he was not a member of the Organized Crime Commission in which the
five families were involved and he was strictly involved of extortion and the witness, Mr. Kaso was

deemed not credible.

Prisoner’s Statement: Mr. Fumari stated that he is 87 years old and has multiple health problems is in
a wheelchair most of the time and would like to go home and die in peace.

Discipline: None.
Program Achievement: None.

Release Plans: The subject plans to live with his wife, Tomasina Furnari at 214 Seicher Street, Staten
Island, NY 10312.

Guideline Parameters, Evaluation & Recommendation

 

Severity Justification: Category Eight because it involved murder, conspiracy to commit murder and
multiple acts of extortion through racketeering offenses.

Salient Factor Score: 8

2.20 Guideline Rage: ......--cssessceesstsrreeanseerse LOO+

Evaluation: Christopher Furnari is an 87 year old male offender appearing before the Commission for a
15-Year Reconsideration Hearing. He was a copal in the Lucchese Corn Family which was involved in
murders, extortion and racketeering. It should be noted that he was convicted of Extortion, Racketeering,
and Conspiracy to Commit.Racketeering which involved Murders that he may have known about but did
not participate in. Hence the Category Eight rating of his offense. The subject has maintained clear
conduct during his entire period of his incarceration and has done some programming but never
completed his GED. The subject is assigned a work detail but it is hard to believe that he does much in
the way of work because he is a pretty frail old man and appears to weigh about 100 pounds.

During today’s hearing his attorney highlighted his multiple medical problems and I believe it is in the
Commission’s best interest to recommend the subject be paroled at this time as I don’t believe he is
going to live much longer based on his physical appearance and list of medical ailments. Additionally, I
believe the subject should be paroled based on the amount of time he served and specifically he has
engaged in some programming and maintained clear conduct.

Recommendation: Parole effective 1/12/2012, after the service of 302 months.

Conditions: Standard conditions no special ones.

Statutory Interim Hearing: N/A.

Guideline Use: A departure from the guidelines at this consideration is not warranted.

Furnari, Christopher, Reg. No. 19815-054 Page 2 of 2
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 20 of 36

Additional Text: None.

[Signature]

MAT/PAH
November 29, 2011

Executive Reviewer’s Comments: Examiner Pacholski, dated 12/2/11; I disagree with the Hearing
Examiner’s recommendation to grant a parole effective date of 1/12/12, after the service of 302 months.
The Hearing Examiner explains that our subject’s age, medical ailments, and his non participation in the
actual murders indicates parole should be granted at this time. I disagree with the Examiner to parole our
subject at this time and believe a fifteen year reconsideration hearing is appropriate.

I believe that the file material in Furnari’s case supports a finding by the preponderance of the evidence
that, in rating the severity of his offense behavior and assessing his suitability for release on parole, that
the he be held accountable for the murders of Lee Schliefer, the conspiracy to murder Richard
Taglianetti and Frank Decicco. Mr. Schliefer was a prospective witness to provide testimony against the
criminal activity of an organized crime organization of which Fumari was a high ranking official.
Though he did not actually commit these acts himself, Furnari played an active role in the planning of
these acts. The Commission has previously considered material that was presented by Furnari at the
hearing. I believe the file information supports holding him accountable for the above criminal acts.

The examiner has cited Furnari’s age and deteriorating health as bases for his parole recommendation. |
believe that a parole grant at this time would minimize the seriousness of the offense and promote
disrespect for the law. The subject’s age and health issues do not mitigate the offense behavior. He is the
type of offender who has others carry out acts of violence and, for that reason, continues to pose a risk to
the community.

T recommend this case be designated as original jurisdiction.

Recommendation: Continue to a fifteen year reconsideration hearing in October 2026,
Conditions: None.
Statutory Interim Hearing: 10/2013

Guideline Use: The Commission finds that a decision more than 48 months above the guideline minimum
of 100 months is warranted based on the following pertinent case factors: You were a high-ranking member
of an organized crime family and the Commission finds that you are responsible for the conspiracy to
commit multiple murders (including those of Lee Schleifer, Richard Taglianetti and FrankDeCicco) and
attempted murder (Abinanti) in furtherance of the criminal conspiracy. These crimes are aggravated by the
fact that they were committed in furtherance of the aims of a criminal organization and that one of the
victims was a prospective prosecution witness and another of the murders was a contract murder. The
Commission recognizes your current age and health concerns. However, notwithstanding these factors,
the Commission finds that a grant of parole at this time would minimize the seriousness of the offense
and promote disrespect for the law.

Furnari, Christopher, Reg. No. 19815-054 Page 3 of 3
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 21 of 36

EXHIBIT C

 
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 22 of 36

 

ORIGINAL JURISDICTION DESIGNATION

Commissioner Instructions: Jf the first Commissioner orders Original Jurisdiction voting or continues
a previous Original Jurisdiction designation, the Commissioner shall: (1) complete Part A; (2) vote on
the disposition of the case; and (3) transfer the case to the other Commissioners for their votes on the

disposition of the case.

Ff the first Commissioner finds that the Original Jurisdiction designation is not warranted, or that a
previous designation should be removed, the Commissioner shall: (1) complete Part B; (2) vote on the
disposition of the case; and (3) refer the case to the data technician if the Commissioner’s vote ends the
voting process, or to the other Commissioners for concurring votes on declassification and on the

disposition of the case.

PART A - DESIGNATION (One Vote)

DESIGNATE for Original Jurisdiction voting, or fontinue a previous designation, and refer the case to the other

Commissioners.

   
  
 

Commissidy

Date: {i= iF a/

 

PART B-DISAPPROVAL/REMOVAL OF DESIGNATION
Wisapproving a Case that Qualifies —- One Vote)

DO NOT DESIGNATE for Original Jurisdiction voting.

Date:

 

Commissioner:

 

 

(Declassifying a Case currently Designated - Majority Vote Only)

DECLASSIFY the case as Original Jurisdiction.

 

 

 

 

 

Commissioner: Date:
Commissioner: Date:
Commissioner: Date:

 

Commissioner: Date:

 
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 23 of 36

 

U.S. DEPARTMENT OF JUSTICE
U.S. Parole Commission

FURNARI, CHRISTOPHER ORDER

19815-054 PRO3 1230
15~YEAR REC ALWALM
Week Beginning 10/24/2011 Institution:

 

In the case of the above-named, the Commission has carefully examined all the information at its
disposal and the following action is hereby ordered:

(awole eFFectivée 1/2/2012. AFTER SERVice
OE 302 MONTHS.

 

Wiehe Vans tole/u

 

Date:

Continue te a Seat pecensicleral ts
———

f 14) 2. Za/y
Dee BOGE fa e
Jigs it ali2/ il oy
Date: fies t sappy 29 Glal

Suan i, 2,
Wr. a oh 1° 7
(Date Notice Sent) (AIC ae = a.
Glee Appeas Roel PF) YW

——a-——

Regional Commissioners

(check)

 

 

 

 

 

 

Full Commission

(check)

Parole Form H-6
December 2004
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 24 of 36

EXHIBIT D
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 25 of 36

FEDERAL 15-YEAR PREHEARING ASSESSMENT

Offense of Conviction - Racketeering, Racketeering Conspiracy, and Extortion

Name : Furnari, Christopher Institution : Allenwood FCI-Med

Reg No 7 19815-054 Sentences(s) Length/Type: 100 years/4205A
Date of Birth 74/30/1924 Parole Eligibility Date: 11/15/1996

Detainer :None 2/3 rds Date: 7/16/2053

Date Dictated :10/11/2012 Fines/Restitution/Court Assessment: 240,000

Reviewer : Mark A. Tanner

Months in Custody 300 as of 11/13/2011

I. Present Offense:
‘This is an Original Jurisdiction case.

A, Christopher Furnari was convicted by jury trial for the above sighted offenses and was sentenced on
1/13/87 to 100 years in prison.

8. From 1970 to 1981, the subject was involved as a powerful member of the Lucchese organized crime
family. He was originally considered the consigliere of the family and as such from time to time, he
-epresented the family in dealings with the “Commission” The Commission was the ruling body of the five
urganized crime family’s in New York City. The Commission either gave direct or tacit approval for the
murdered of Carmine Galante, Leonard Coppola, Gisseppi Turano. The subject as a representative of the
:ucchese crime family on the Commission, would either give direct or tacit approval for the murdered of the

above individuals.

sn Short, Furnari was a Capo and Consigliere of the Lucchese Crime Family. When he was consigliere, he was also
a member of the "Commission", the national ruling body of the La Cosa Nostra, made up of various representatives

of crime families.

The subject has been found by the Commission to have been directly involved in the planning or approval of
murder and or attempted murder, The murder of Lee Schleifer was a prospective informant/witness. The
conspiracy to murder and murder Richard Taglianetti was a contract murder. The Commission also determined
that there was sufficient corroboration of information provided by Casso so as to be able to rely on the information
given by Casso, notwithstanding an affidavit from AUSA Stamboulidis that Casso later was thought to not be

credible in that district.

There is a letter from AUSA David Kelly, Chief of the Organized Crime Unit which indicates that the
Government has obtained new information since the convictions that the subject was a capo in the Lucchese
crime family but did not sit on the Commission. It also goes on to state that the subject was aware of the
criminal activity committed by the Lucchese crime family.

During the subject’s initial parole hearing, NOA ordered a 15 reconsideration hearing during 11/2011.

 

Furnari 19815-054 Page | of 4
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 26 of 36

By NOA dated 7/8/05 the Commission ordered: No Changed in 15 year reconsideration date of 12/11. Retroactivity
does not apply. SFS was 8 and Offense Severity Rating was 8.

The subject appealed the above decision. By NOA dated 11/23/05 the National Appeals Board affirmed the
previous decision. The Commission provided a rather detailed explanation in support of its decision.

The Commission conducted SIH hearing in 2007 and 2009 and ordered no change in continue to 15 year
reconsideration hearing in December 2011.

The subject applied for his 15 year reconsideration hearing on 8/16/11 and indicating Flora Edwards, Attorney
would represent him. ,

C. The offense behavior is rated as Category 8 severity because it involved conspiracy in Racketing to commit
murders.

Codefendants:

1)Corallo, Anthony 08341-016: 100 year sentence. By NOA dated 11/13/97, was continued to a 15 year
reconsideration hearing. His offense was rated as Category Eight because it involved murder. His SFS was 4 and
gls were 150+ months. The NAB affirmed the decision on 04/1 8/98. After an SIH, by NOA dated 10/ 19/99, there
was no change in the previous decision. The NAB affirmed on 01/06/00. He died on 08/23/00 at FMCP

Springfield.

2) Idelicato, Anthony 19706-054: 40 year sentence later modified to 20 years. By NOA dated 04/29/92,was
continued to expiration. The offense behavior was rated as Category Eight, SFS 4 and gls 150+ months. He was
released via MR on 04/01/98. He has been violated twice for violation of the association condition of supervision.
The subject is current in custody serving a new PLRA sentence of 240 months for Racketeering with a release date
of 7/20/2023

3) Lamella, Gennaro 10405-054: 101 years, 9 months 30 days, aggregate sentence. By NOA dated 06/27/96, was
continued for a 15 year reconsideration hearing. His offense was rated as category eight because it involved
murder. His SFS was 4 and gls were 150+ months. In addition, he had new criminal conduct of assault, for
rescission guidelines of 36-48 months, aggregate guidelines of 186+ months. By OJ Appeal, the decision was
affirmed on 12/04/96. At an SIH in 2000, the decision was no change in previous decision. The NAB affirmed on
08/10/00. His last SIH was in 2005 and ordered no change; this was later affirmed on appeal. NOA dated 9/2011
ordered, no change in 15 year reconsideration date of 7/2026.

4) Persico, Carmine: 74666-158: 100 year sentence. He waived parole consideration.

5) Salerno, Anthony 12812-054: 100 year sentence. Died at FMCP Springfield on 07/22/96.

months. He died on 01/25/00.

Scopo, Ralph 10402-054: 100 year sentence. He died at USP Lewisburg on 03/09/93.

 

Furnari 19815-054 Page 2 of 4
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 27 of 36

WI. Victim Information: There are no victims registered for notification in the victim witness program.
However, there are victims to the subject’s offenses and our VC was provided all information conceming the
upcoming hearing to solicit comments from victim families.

IV. Salient Factor Score:

A= 1 Subject has 3 convictions.

5/23/40 Theft 9/10/40 — Probation (1-0)
1/3/43 Robbery 4/14/43 — Probation (2-0)
9/12/43 Sodomy, Assault and Attempted Rape 12/28/43 — 15 to 30 yrs (3-1) Paroled 10/21/53

10/19/62 — Revoked 4 yrs prison (3-2)

B= 1 Subject has 2 commitments of more than 30 days that were imposed prior to the last overt act of the
current offense.

C= 3 Subject was 45 years old at the commencement of the current offense.

D= 1 Date of offense: 1/1/1970

E= 1 Subject is not a violator

F= 1 Subject was 41 years of age or more at the commencement of the current offense.
8 Total Score

V. The guideline range is 100+ months.

VI. Other Significant Prior Record/Stability Factors: None

VI. Form USA-792, AO-235, AO-337: N/A

VII. Parole On The Record: No

TX. Evaluation:

Education Data Sheet:
ALM CLASSIC MOVIE ACE CLASS 08-08-2006 09-27-2006 PCP 14
ALM CLASSIC MOVIE ACE CLASS 04-25-2006 06-29-2006 PCP 16
ALM CLASSIC MOVIE ACE CLASS 01-10-2006 03-08-2006 PCP 18
ALM CLASSIC MOVIE ACE CLASS 09-27-2005 12-07-2005 PCP 22
ALM CLASSIC MOVIE ACE CLASS 06-07-2005 08-19-2005 PCP 18
ALM CLASSIC MOVIE ACE CLASS 02-15-2005 04-20-2005 PCP 20
ALM CLASSIC MOVIE ACE CLASS 10-13-2004 12-23-2004 PCP 22
ALM CLASSIC MOVIES ACE CLASS 06-04-2003 07-30-2003 PCP 22
ALM CLASSIC MOVIES ACE CLASS 01-30-2003 03-28-2003 PCP 22
PCP 16

ALM CLASSIC MOVIES ACE CLASS 10-25-2002 12-12-2002

 

 

Furnori 108145.954 Page 3 of 4
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 28 of 36

ALM A.C.E. CONSTRUCTION ESTIMATING 06-30-1999 08-25-1999 PCP 22
ALM A.C.E. CONSTRUCTION ESTIMATING 10-22-1998 12-23-1998 PCP 22
ALM CLASSICAL FILMS ACE CLASS 02-04-1997 04-07-1997 PCP 22
ALM WORLD WAR I HISTORY 09-23-1996 11-22-1996 PCP 24
ALM NORTH AMERICAN GEOGRAPHY 09-23-1996 11-22-1996 PCP 24
ALM CLASSICAL FILMS ACE CLASS 09-16-1996 11-22-1996 PCP 24
ALM ACE BUSINESS DISCUSSION CLASS 05-19-1996 07-09-1996 PCP 20
ALM BUSINESS (ACE-EVE/BEG CLASS) 01-30-1996 04-16-1996 PCP 12
ALM ASTRONOMY (ACE) 02-14-1996 03-28-1996 P CP 22
OXF GED : 08-31-1987 08-04-1993 P WV 240

Christopher Furnari is an 87 year old male offender appearing before the Commission for a 15 year
reconsideration hearing. He was the Capo of a Lucchese crime family crew which were involved in murders,
extortion and racketeering. There is a letter from AUSA David Kelley dated 12/11/96 detailing the subject’s
‘nvolvement in nefarious activity including several murders.

The subject has maintained clear conduct since incarceration and done some programming but never completed
ais GED. The subject is currently working on the Correctional Services crew but there is no indication of the
quality of his work. His release residence according to his progress report is as follows:

Tomasina Furmari — wife
214 Siecher St
Staten Island, NY 10312

During the last hearing, the subject indicated his had many medical programs...which are expected of someone
87 years old. The subject has filed appeals to each parole commission action and most recently in 2010, the
NAB Affirmed the previous decision. ..see attached NAB Order.

MAT
October 11, 2011

 

Furnari 19815-054 Page 4 of 4
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 29 of 36

 
DET 4°25 Bae use Soy . 12 Page 30 f-56
:12-cv- -WJN-DB Document 7 Filed 11/29 g
Case 3:12-cv 62378-WJ Diya pled s1ze2 Bat

United States Auprney
Southern District-of New York

 

 

The Siivio J. Mollo Building
One Saint Andrew's Plara
New York, New York 10007

December 4, 1995

By imi

David Breitbart, Esq.

52 Duane Street 7th Floor
New York, New York 10007

Re: United States v. Christopher Furnarij

S83 85 Cr. 139(RO)

Dear Mr. Breitbart:

This letter is submittea in response to your reguest that
the Government correct information that appeared in Furnari's
presentence report ("PSR"), Having the benefit of cooperating
witnesses who are familiar with Furnari and his criminal
activities, and who began to ccoperate several years after
Furnari's conviction, the Government hereby agrees to the
correction and clarification of certain information contained in

the PSR.

Specifically, you have objected to references in the PSR
that describe Furnari as serving as consigliere of the Luchese
Family "since at least the jate-1970's," and suggest that, through
his position on the Cemmission as Luchese consigliere, Furnari
implicitly approved of the 1979 murders of Carmine Galente, Leonard
Coppola, and Giuseppi Turrano. See PSR at 20, 28-29. We have
since learned however, that Furnari was only a capo in the Luchese
Family until the early eighties, and consequently, could not have
sat on the Commission at the time of the Galente homicide.

&s you know, in September 1991 Alfonso D'Arco, a longtime
member of the Luchese Family who also had served as capo and acting
boss, began to cooperate with the Government. In his proffers to
the Government and in his trial testimony, D'Arco has identifiea
Furnari as a Luchese capo in the late seventies and early eighties,
who did not become a consigliere until the early eighties, Thus,
from information received after Furnari's conviction in the above-—
captioned matter, we now believe that Furnari was only a capo, and
not a Luchese representative on the Commission at the time of the
Galente homicide.

However, this does not change our view of Furnari's
Character, nor does it diminish the danger he posed as a
participant in a violent criminal enterprise. Through the many
PES "Case 3:12 'cv02S78-WIN-DB Document7 Filed 11/29/12 Page 31 6f 36

years that Furnari was an associate and high-ranking member of the
Luchese Family, Furnari was well aware of -- and indeed accepted as
a way of life ~- the Commission's role in La Cosa Nostra, and its
power to order murders. With full knowledge of the Commission's
role in sanctioning murders, Furnari willingly accepted his
appointment to Luchese Family consigliere, and as such participated
with other members of the Luchese hierarchy in Commission affairs,
albeit sometime after the Galente homicide.

In view of D'Arco's information, we agree, with leave of
the Court, that the PSR should be amended by annexing to it a copy
of this letter. in addition, a copy of this letter will be
forwarded to the United States Parole Commission. If you have any
objection, please let me know.

Very truly yours,

 
  
   

MARY JO WHITE
United States A

   

DAVID N. KELLEY
Chief, Organized Crime Unit
Tel.: (212) 791-1131

ce: Joseph Veltre, USPO
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 32 of 36

 
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 33 of 36

FEDERAL 15-YEAR PREHEARING ASSESSMENT

Offense of Conviction - Racketeering, Racketeering Conspiracy, and Extortion

Name : Furnari, Christopher Institution : Allenwood FCI-Med

Reg No :19815-054 Sentences(s) Length/Type: 100 years/4205A
Date of Birth 4/30/1924 Parole Eligibility Date: 11/15/1996

Detainer : None 2/3 rds Date: 7/16/2053

Date Dictated  :10/11/2012 Fines/Restitution/Court Assessment: 240,000

Reviewer : Mark A. Tanner
Months in Custody 300 as of 11/13/2011

I. Present Offense:
This is an Original Jurisdiction case.

A, Christopher Furnari was convicted by jury trial for the above sighted offenses and was sentenced on
1/13/87 to 100 years in prison.

B. From 1970 to 1981, the subject was involved as a powerful member of the Lucchese organized crime
family. He was originally considered the consigliere of the family and as such from time to time, he
sepresented the family in dealings with the “Commission” The Commission was the ruling body of the five
organized crime family’s in New York City. The Commission either gave direct or tacit approval for the
murdered of Carmine Galante, Leonard Coppola, Gisseppi Turano. The subject as a representative of the
Lucchese crime family on the Commission, would either give direct or tacit approval for the murdered of the
above individuals.

in short, Furnari was a Capo and Consigliere of the Lucchese Crime Family. When he was consigliere, he was also
a member of the "Commission", the national ruling body of the La Cosa Nostra, made up of various representatives
of crime families.

The subject has been found by the Commission to have been directly involved in the planning or approval of
murder and or attempted murder. The murder of Lee Schleifer was a prospective informant/witness. The
conspiracy to murder and murder Richard Taglianetti was a contract murder. The Commission also determined
that there was sufficient corroboration of information provided by Casso so as to be able to rely on the information
given by Casso, notwithstanding an affidavit from AUSA Stamboulidis that Casso later was thought to not be

credible in that district.

There is a letter from AUSA David Kelly, Chief of the Organized Crime Unit which indicates that the
Government has obtained new information since the convictions that the subject was a capo in the Lucchese
crime family but did not sit on the Commission. It also goes on to state that the subject was aware of the
criminal activity committed by the Lucchese crime family.

During the subject’s initial parole hearing, NOA ordered a 15 reconsideration hearing during 11/2011.

 

Furnari 19815-054 Page 1 of 4
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 34 of 36

By NOA dated 7/8/05 the Commission ordered: No Changed in 15 year reconsideration date of 12/11. Retroactivity
does not apply. SFS was 8 and Offense Sever ly Rating was 8.

The subject appealed the above decision. By NOA dated 11/23/05 the National Appeals Board affirmed the
previous decision. The Commission provided a rather detailed explanation in support of its decision.

The Commission conducted SI} hearing in 2007 and 2009 and ordered no change in continue to 15 year
reconsideration hearing in December 2011.

The subject applied for his 15 year reconsideration hearing on 8/16/11 and indicating Flora Edwards, Attomey
would represent him.

C. The offense behavior is rated as Category 8 severity because it involved conspiracy in Racketing to commit
murders,

Codefendants:

1)Corallo, Anthony 08341-016: 100 year sentence. By NOA dated 11/13/97, was continued to a 15 year
reconsideration hearing. His offense was rated as Category Eight because it involved murder, His SFS was 4 and
gls were 150+ months. The NAB affirmed the decision on 04/ 18/98. After an SIH, by NOA dated 10/1 9/99, there
was no change in the previous decision. The NAB affirmed on 01/06/00. He died on 08/23/00 at FMCP
Springfield.

+) Idelicato, Anthony 19706-054: 40 year sentence later modified to 20 years. By NOA dated 04/29/92, was
continued to expiration. The offense behavior was rated as Category Eight, SFS 4 and gls 150+ months. He was
released via MR on 04/01/98. He has been violated twice for violation of the association condition of supervision.
The subject is current in custody serving a new PLRA sentence of 240 months for Racketeering with a release date
of 7/20/2023

3) Lamella, Gennaro 10405-054: 101 years, 9 months 30 days, aggregate sentence. By NOA dated 06/27/96, was
continued for a 15 year reconsideration hearing. His offense was rated as category eight because it involved
murder. His SFS was 4 and gls were 150+ months. In addition, he had new criminal conduct of assault, for
rescission guidelines of 36-48 months, aggregate guidelines of 186+ months. By OJ Appeal, the decision was
affirmed on 12/04/96. At an SIH in 2000, the decision was no change in previous decision. ‘The NAB affirmed on
08/10/00. His last SIH was in 2005 and ordered no change; this was later affirmed on appeal. NOA dated 9/2011

ordered, no change in 15 year reconsideration date of 7/2026.

4) Persico, Carmine: 74666-158: 100 year sentence. He waived parole consideration.

5) Salemo, Anthony 12812-054: 100 year sentence. Died at FMCP Springfield on 07/22/96.

6) Santoro, Salvatore: 19814-054: 100 year sentence. By NOA dated 01/27/99, he was given a presumptive

parole date of 11/13/01 after service of 180 months, based on his poor health. He was 84 years of age and dying of
cancer. His offense was rated as Category Eight because it involved murder, SFS was 4 and guidelines were 150+

months. He died on 01/3:5/

Scopo. Ralph 10402-054: 100 year sentence. He died at USP Lewisburg on 03/09/93.

 

—- ~ Page 2 of 4

 

Furnari 19815-054
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 35 of 36

WY. Victim Information: There are no victims registered for notification in the victim witness program.

=

However, there are victims to the subject’s offenses and our VC was provided all information concerning the
upcoming hearing to solicit comments from victim families.

IV. Salient Factor Score:

A= 1 Subject has 3 convictions.

5/23/40 Theft 9/10/40 -- Probation (1-0)
1/3/43 Robbery 4/14/43 — Probation (2-0)
9/12/43 Sodomy, Assault and Attempted Rape 12/28/43 - 15 to 30 yrs (3-1) Paroled 10/21/53

10/19/62 — Revoked 4 yrs prison (3-2)

B= 1 Subject has 2 commitments of more than 30 days that were imposed prior to the last overt act of the
current offense.

C= 3 Subject was 45 years old at the commencement of the current offense.
D= 1 Date of offense: 1/1/1970
E= 1 Subject is not a violator

F= 1 Subject was 41 years of age or more at the commencement of the current offense.
8 Total Score

Y. The guideline range is 100+ months.

VI. Other Significant Prior Record/Stability Factors: None

Vil. Form USA-792, AO-235, AO-337: N/A

VII. Parole On The Record: No

IX. Evaluation:

Education Data Sheet:

ALM CLASSIC MOVIE ACE CLASS 08-08-2006 09-27-2006 PCP 14
ALM CLASSIC MOVIE ACE CLASS 04-25-2006 06-29-2006 PCP 16
ALM CLASSIC MOVIE ACE CLASS 01-10-2006 03-08-2006 PCP 18
ALM CLASSIC MOVIE ACE CLASS 09-27-2005 12-07-2005 PCP 22
ALM CLASSIC MOVIE ACE CLASS 06-07-2005 08-19-2005 PCP 18
ALM CLASSIC MOVIE ACE CLASS 02-15-2005 04-20-2005 PCP 20
ALM CLASSIC MOVIE ACE CLASS 10-13-2004 12-23-2004 PCP 22
ALM CLASSIC MOVIES ACE CLASS 06-04-2003 07-30-2003 PCP 22
ALM CLASSIC MOVIES ACE CLASS 01-30-2003 03-28-2003 PCP 22
ALM CLASSIC MOVIES ACE CLASS 10-25-2002 12-12-2002 PCP 16

 

Furnari 19815-054 Page 3 of 4
Case 3:12-cv-02378-WJN-DB Document 7 Filed 11/29/12 Page 36 of 36

ALM A.C.E. CONSTRUCTION ESTIMATING 06-30-1999 08-25-1999 PCP 22
ALM A.C.E. CONSTRUCTION ESTIMATING 10-22-1998 12-23-1998 PCP 22
ALM CLASSICAL FILMS ACE CLASS 02-04-1997 04-07-1997 PCP 22
ALM WORLD WAR | HISTORY 09-23-1996 11-22-1996 PCP 24
ALM NORTH AMERICAN GEOGRAPHY 09-23-1996 11-22-1996 PCP 24
ALM CLASSICAL FILMS ACE CLASS 09-16-1996 11-22-1996 PCP 24
ALM ACE BUSINESS DISCUSSION CLASS 05-19-1996 07-09-1996 PCP 20
ALM BUSINESS (ACE-EVE/BEG CLASS) 01-30-1996 04-16-1996 PCP 12
ALM ASTRONOMY (ACE) 02-14-1996 03-28-1996 PCP 22
OXF GED , 08-31-1987 08-04-1993 P WV 240

Christopher Furnari is an 87 year old male offender appearing before the Commission for a 15 year _
reconsideration hearing. He was the Capo of a Lucchese crime family crew which were involved in murders,
extortion and racketeering. There is a letter from AUSA David Kelley dated 12/11/96 detailing the subject’s
‘nvolvement in nefarious activity including several murders.

The subject has maintained clear conduct since incarceration and done some programming but never completed
his GED. The subject is currently working on the Correctional Services crew but there is no indication of the
quality of his work. His release residence according to his progress report is as follows:

‘fTomasina Furnari — wife
214 Siecher St
Staten Island, NY 10312

During the last hearing, the subject indicated his had many medical programs...which are expected of someone
87 years old. The subject has filed appeals to each parole commission action and most recently in 2010, the

NAB Affirmed the previous decision...see attached NAB Order.

MAT
October 11, 2011

 

 

Furnari 19815-054 Page 4 of 4
